                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In re: Michael G. Dombrowski,                  )           Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                        )
                                               )
              Debtor.                          )           CHAPTER 11

                          JOINT MOTION FOR APPROVAL OF
                           COMPROMISE AND SETTLEMENT

       COME NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-possession (“Debtor”),
and Sevier County Bank (“Bank”), and respectfully represent that they have reached an
agreement to settle and compromise the claims and disputes involved in the Debtor’s Chapter 11
case. As grounds for this motion, the parties state the following:

                                        I. Background

       1.    On May 11, 2016 (the "Commencement Date"), the Debtor commenced with this
Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
Code").

       2.     The Debtor continues to be authorized to operate the business as Debtor-in
possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

      3.     The Debtor is an active real estate investor with numerous real properties in
Alabama and several other states. In addition to his own properties, the Debtor is a member or
member/owner of several limited liability companies that own real properties.

       4.      On July 8, 2011, and on August 5, 2011, the Debtor contracted with the Bank for
two separate loans (loan ## 7420 and 7457, respectively) totaling $2,495,500.00 (the “loans”).

        5.      As of filing its proofs of claim (#31 and #32) on September 13, 2016, the Bank
asserted that the loans’ remaining principal balance was a total of $2,110,212.30, plus forward
accruing interest, and costs (the “Proofs of Claim”).

       6.     The Debtor is the sole owner and member of Blue Mountain Properties, L.L.C.,
which currently hold title to the real properties encumbered by the Bank’s purchase-money
mortgages that collateralized the loans (the “collateral”), as listed and incorporated hereto in
Exhibit “A.”

      7.      Following the commencement date, a dispute arose between the Debtor and the
Bank regarding the Debtor’s treatment of the Bank’s claim under the terms of his Plan for
Reorganization (the “dispute”).




Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-4
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                             Document
                                    D Page Page
                                             1 of 16 of 5
        8.      To resolve the dispute and all other ancillary or collateral matters between these
parties, the Debtor and the Bank propose this compromise and settlement to the Court. These
parties aver that this proposed resolution is in the best interest of each party and the bankruptcy
estate as a whole.

                                  II. Jurisdiction and Notice

       9.     The parties bring this Motion for approval of compromise and settlement (this
“Motion”) pursuant to § 105 of the Bankruptcy Code and Rules 2002 and 9019 of the Federal
Rules of Bankruptcy Procedure (“Bankruptcy Rules”). This Motion is a contested matter under
Bankruptcy Rule 9014.

        10.     The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
Court is being asked to enter a final order on any non-core matter, the parties expressly consent
to the entry of a final order.

      11.     Pursuant to Bankruptcy Rule 2002, the parties propose to serve a copy of this
Motion upon the Bankruptcy Administrator, all creditors, and all parties requesting notice.

        12.      Pursuant to Bankruptcy Rule 2002, the parties propose that the Bankruptcy Court
provide no less than 20 days’ notice by mail to all creditors of the time within which objections
to the relief requested in this Motion must be filed and of the hearing on any such objections.


                       III. Agreement for Compromise and Settlement

        13.  The agreement by and between the Debtor, including where applicable Blue
Mountain Properties, L.L.C., and the Bank to resolve all issues involved in the Chapter 11 case is
as follows:

        A.     As a result of two of the Debtor’s rental units being destroyed in the recent
wildfires of East Tennessee, the Debtor has received a check from Engle Martin & Associates,
Inc. in the amount of $670,916.00 and made payable to Mr. Dombrowski’s Blue Mountain
Properties, LLC, as property owner and to Sevier County Bank as the mortgage lien holder on
said properties. As to the funds represented by this check, the parties have agreed, subject to
court approval, that:

               i.     The Debtor will request that the Engle Martin & Associates, Inc.
                      cancel the original check for $670,916.00 and reissue two checks
                      as follows: (a) one check for $626,216.00 representing the
                      insurance proceeds relating to the two burned structures and made
                      payable to the Bank; and (b) one check for $43,700.00 representing
                      the insurance proceeds relating the burned personal property in the
                      units and made payable to the Debtor; and



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Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-4
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                        MainExhibit
                             Document
                                    D Page Page
                                             2 of 26 of 5
               ii.     The Bank will receive the $626,216.00 check for insurance
                       proceeds relating to the two burned structures; and

               iii.    The Debtor will receive the $43,700.00 check for insurance
                       proceeds relating to the burned personal property in the units.

       B.      Mr. Dombrowski also expects to receive, and the parties agree that he will retain,
additional funds representing lost future rents and/or demolition/stabilization costs from the two
destroyed units.

      C.      Upon receipt of the funds discussed above, the Bank will release and discharge its
mortgage liens on the lots of the two destroyed rental units.

        D.       The Debtor will be solely responsible for, and will use a portion of the funds that
he retains, for cleanup and stabilization of the two lots, as such is required by local authorities.

        E.     The Bank will apply the funds, as discussed above in ¶ 13(A)(i), to its allowed
claim, as amended, first to pay outstanding costs and fees and second, to a $5,000.00 escrow for
additional costs, and, third, to the principal balance of the claim. After approval of the Motion
and the finalizing of documents, any balance remaining in the escrow will be applied to the
principal balance of the loan.

      F.       As for Mr. Dombrowski’s two notes, on receipt of the funds discussed above, the
Bank will:

       i.      Re-amortize both notes on their current terms; and

       ii.     Keep the notes’ current variable interest formula of Wall Street Journal
               prime.

       G.      Debtor will incorporate the terms of this agreement into his Plan of
Reorganization, and the Bank will support this treatment of its claim in the Debtor’s Plan and not
vote against and will withdraw it pending objection to said Plan.

        H.      If the Bank concludes that the Debtor is in default, the Bank will send notice of
such default to Debtor at his last known residence and a copy to his bankruptcy counsel of
record. Thereafter, the Debtor will have twenty-one (21) calendar days to cure the default from
the date the notice is sent.

       I.      Upon filing of this Motion, the Debtor is released from any further obligation to
his Court ordered adequate protection payments to Bank.




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Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-4
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                        MainExhibit
                             Document
                                    D Page Page
                                             3 of 36 of 5
       J.     To the extent any provision proposed in the Debtor’s Plan, and not addressed by
this Agreement, conflicts with the terms, guarantees, promissory notes, mortgages, or other loan
documents entered into between the parties (collectively, the “loan documents”), the loan
documents will govern the parties’ duties and obligations.

                  IV. Business Justification for Compromise and Settlement

        14.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
and settlements. The approval or rejection of a compromise is left to the sound discretion of the
bankruptcy court, and is to be determined by the particular circumstances of each proposed
compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
invoked as a guide to judicial action, it means a decision giving due regard to what is right and
equitable under the particular circumstances of the case and applicable law. Langes v. Green,
282 U.S. 531, 541 (1931).

        15.    The courts have supplied the following criteria when determining the
acceptability of a proposed compromise:

               (i)     The probability of success in the litigation;
               (ii)    The complexity of the litigation involved; and
               (iii)   The expense, inconvenience, and delay necessarily attending the litigation
                       (including the possibility that denial of the settlement will cause the
                       depletion of assets).

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
required to decide whether the settlement falls below the lowest point in a range of
reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
Cir. 1983), cert denied 464 U.S. 822 (1984)).

        16.    Although the parties each believe strongly in their respective claims and defenses,
each also recognizes the risks inherent in any litigation.

        17.     A settlement of the parties’ disputes in accordance with this Motion will result in
the resolution of these claims and minimize the Estate’s administrative costs.

       18.    The proposed compromise and settlement is consistent with the intent and the
requirements of the Bankruptcy Code.

       19.    This settlement and compromise is proposed in good faith and is the product of
arms-length negotiations that have occurred between the parties over an extended period of time.




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Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-4
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                        MainExhibit
                             Document
                                    D Page Page
                                             4 of 46 of 5
                                          V. Conclusion

         WHEREFORE, PREMISES CONSIDERED, the parties request that the Bankruptcy
Court:

        A.     Enter a final order approving this compromise and settlement; authorizing the
parties to execute and deliver any and all other documents which may be necessary or
appropriate to effectuate the compromise and settlement described herein; and

       B.     Granting such further and different relief as the Bankruptcy Court may deem just
and appropriate.

         Respectfully submitted this the 10th day of May, 2017.


/s/ Stuart M. Maples                              /s/ Tazewell T. Shepard IV
Stuart M. Maples                                  Tazewell T. Shepard IV
Attorney for Sevier County Bank                   An Attorney for Debtor-in-possession

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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this 10th day of May, 2017 served the foregoing motion on all
parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the Bankruptcy
Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the Court’s
CM/ECF system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard IV




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Case
 Case16-81412-CRJ11
      16-81412-CRJ11 Doc
                      Doc569-4
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                                                                    10:42:36 Desc
                                                                              Desc
                        MainExhibit
                             Document
                                    D Page Page
                                             5 of 56 of 5
                                EXHIBIT “A”

loan #7420

      1 BR Rental Home                            1 BR Rental Home
      3013 Legacy Vista Dr.                       2613 Mountain Glory
      Sevierville, TN 37876                       Sevierville, TN 37876


      1 BR Rental Home                            5 BR Rental Home
      3015 Legacy Vista Dr.                       314 Pinnacle Dr.
      Sevierville, TN 37876                       Gatlinburg, TN 37738


loan #7457

      1 BR Rental Home                            1 BR Rental Home
      2611 Mountain Glory                         2617 Mountain Glory
      Sevierville, TN 37876                       Sevierville, TN 37876


      1 BR Rental Home                            7 BR Rental Home
      2322 Top of the World                       3451 Tekoa Mountain
      Sevierville, TN 37876                       Sevierville, TN 37876


      3 BR Rental Home                            7 BR Rental Home
      410 Beuna Vista                             218 Pinnacle Dr.
      Sevierville, TN 37876                       Gatlinburg, TN 37738




Case 16-81412-CRJ11     Doc 569-4
                            419-1 Filed 08/30/17
                                         05/10/17 Entered 08/30/17
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                                       A Page 1 6 of 1
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